Case 8:22-cv-00406-TPB-CPT Document 46 Filed 07/28/22 Page 1 of 8 PageID 202



             IN THE UNITED STATES DISTRICT COURT FOR THE
                     MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                     Petitioner,             )
                                             )
       v.                                    )   Case no. 8:22-cv-406
                                             )
CAPTIVE ALTERNATIVES, LLC,                   )
                                             )
                     Respondent.             )

UNITED STATES’ RESPONSE TO RESPONDENT’S MOTION FOR LEAVE
TO FILE PARTIALLY UNDER SEAL ITS OBJECTIONS TO IRS SUMMONS

       The United States responds in opposition to the Respondent’s Motion for

Leave to File Partially Under Seal Opposition to Petition to Enforce Internal

Revenue Service Summons (ECF No. 45).

       “The filing of documents under seal is generally disfavored as all documents

filed with the Court are presumptively public: ‘Once a matter is brought before a

court for resolution, it is no longer solely the parties’ case, but also the

public’s case.’” Infinity Transportation III LLC v. XPO Intermodal, Inc., 2017 WL

11446906, at *1 (N.D. Ga. Mar. 28, 2017) (quoting Brown v. Advantage Eng'g, Inc.,

960 F.2d 1013, 1016 (11th Cir. 1992)). “Because constitutional law and common law

afford the public a qualified right of access to an item filed in connection with the

adjudication of a claim or defense, sealing is unavailable absent a compelling

justification.” Local Rule 1.11(a).

       As we discussed in our Brief on the Sealing of Portions of the Record (ECF
                                             1
Case 8:22-cv-00406-TPB-CPT Document 46 Filed 07/28/22 Page 2 of 8 PageID 203



No. 41), the United States’ position on sealing matters is that they should not be

sealed, because our legal proceedings should be open to the public. This policy is

memorialized in the Code of Federal Regulations:

       Because of the vital public interest in open judicial proceedings, the
       Government has a general overriding affirmative duty to oppose their closure.
       There is, moreover, a strong presumption against closing proceedings or
       portions thereof, and the Department of Justice foresees very few cases in
       which closure would be warranted.

28 C.F.R. § 50.9. The Respondent does not dispute this policy but argues that the

regulation pertains to courtroom proceedings, not pleadings (see ECF No. 45 at 2 n.

2). However, the Department of Justice consistently takes the position that this

regulation pertains to pleadings as well. See, e.g., United States v. Contents of Nationwide

Life Ins Co. Acct. No. X0961 in name of Warshak, 2006 WL 971978, at *2 (S.D. Ohio

Apr. 12, 2006) (discussing government’s argument “that it is official government

policy to promote broad access to court proceedings and records on matters of public

concern, and maintains that as ‘master of the complaint’ it should have the discretion

to file its forfeiture pleadings in a manner consistent with that policy.”); United States

v. Mathur, 2012 WL 3135548, at *1 (D. Nev. June 8, 2012), report and recommendation

adopted, 2012 WL 3135532 (D. Nev. Aug. 1, 2012) (noting, in a case where a motion

to dismiss was sealed due to the scandalous and salacious nature of its arguments,

that the “the government asserts that 28 C.F.R. § 50.9 requires it to oppose the

Motion to Seal”).

       The Respondent relies on Romero v. Drummond Co., 480 F.3d 1234 (11th Cir.

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Case 8:22-cv-00406-TPB-CPT Document 46 Filed 07/28/22 Page 3 of 8 PageID 204



2007), in support of its request to file portions of its objections under seal and, in

conjunction with Local Rule 1.11(d), to require the United States to also file portions

of its pleadings under seal. 1 Under Romero, a “motion that is ‘presented to the court

to invoke its powers or affect its decisions,’ whether or not characterized as

dispositive, is subject to the public right of access.” Romero, 480 F.3d at 1246 (citing

United States v. Amodeo, 71 F.3d 1044, 1050 (2d Cir. 1995); Leucadia, Inc. v. Applied

Extrusion Techs., Inc., 998 F.2d 157, 164 (3d Cir. 1993); In re Cont'l Ill. Sec. Litig., 732

F.2d 1302, 1309 (7th Cir. 1984)). “In light of this strong First Amendment

presumption, ‘continued sealing of the documents may be justified only with specific,

on-the-record findings that sealing is necessary to preserve higher values and only if

the sealing order is narrowly tailored to achieve that aim.’” Brown v. Maxwell, 929

F.3d 41, 47 (2d Cir. 2019) (quoting Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110,

124 (2d Cir. 2006)).

       Eleventh Circuit “case law lists several relevant factors to consider, including

‘whether the records are sought for such illegitimate purposes as to promote public

scandal or gain unfair commercial advantage, [and] whether access is likely to

promote public understanding of historically significant events.’” F.T.C. v. AbbVie



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  We agree with the Respondent that certain court proceedings are conducted in
secret and that “ancillary materials” cannot be disclosed or shared. (See ECF No. 19
at 4-5; ECF No. 32 at 5.) But a summons enforcement proceeding is not conducted
in secret. United States v. Layo, 2014 WL 4437267, at *2 (E.D. Wis. Sept. 9, 2014)
(concluding that this is a “proceeding to enforce IRS summonses. No case of which I
am aware has recognized that such proceedings should be conducted in secret.”).
                                              3
Case 8:22-cv-00406-TPB-CPT Document 46 Filed 07/28/22 Page 4 of 8 PageID 205



Prods. LLC, 713 F.3d 54, 62 (11th Cir. 2013) (quoting Newman v. Graddick, 696 F.2d

796, 803 (11th Cir. 1983)). “In balancing the public interest in accessing court

documents against a party’s interest in keeping the information confidential, courts

consider, among other factors, whether allowing access would impair court functions

or harm legitimate privacy interests, the degree of and likelihood of injury if made

public, the reliability of the information, whether there will be an opportunity to

respond to the information, whether the information concerns public officials or

public concerns, and the availability of a less onerous alternative to sealing the

documents.” Romero, 480 F.3d at 1246 (citing In re Alexander Grant & Co. Litig., 820

F.2d 352, 356 (11th Cir. 1987); Shingara v. Skiles, 420 F.3d 301, 305–06 (3d Cir.

2005); Amodeo, 71 F.3d at 1050–51).

      The briefing of the Respondent’s objections and the government’s response is

the culmination of this proceeding, akin to a briefing on summary judgment or to a

trial, resulting in a final disposition of the matter. Hence, like summary judgment, it

“is an adjudication, and ‘[a]n adjudication is a formal act of government, the basis of

which should, absent exceptional circumstances, be subject to public scrutiny.’”

Lugosch, 435 F.3d at 124 (quoting Joy v. North, 692 F.2d 880, 893 (2d Cir. 1982)). See

also Romero, 480 F.3d at 1246 (“Although ‘[d]ecisions less central to merits

resolutions implicate lesser right-to-access considerations,’ 8 Charles Alan Wright,

Arthur R. Miller & Richard L. Marcus, Federal Practice and Procedure § 2035 (2d

ed.1994), the plaintiffs’ motion for reconsideration was related both to the merits of

                                            4
Case 8:22-cv-00406-TPB-CPT Document 46 Filed 07/28/22 Page 5 of 8 PageID 206



the underlying controversy and the conduct of the court.”). “‘Judges deliberate in

private but issue public decisions after public arguments based on public records ....

Any step that withdraws an element of the judicial process from public view makes

the ensuing decision look more like fiat and requires rigorous justification.’” Perez-

Guerrero v. U.S. Atty. Gen., 717 F.3d 1224, 1235 (11th Cir. 2013) (quoting Hicklin

Eng'g, L.C. v. Bartell, 439 F.3d 346, 348 (7th Cir. 2006)).

       It is undisputed that the information that the Respondent seeks to have sealed

here is not being used to promote public scandal, particularly since it is the

Respondent, not the government, initially presenting the information to the Court.

But most importantly, for the Court to address the Respondent’s expected objection

and explain its reasoning and rationale, the Court will be required to include some

recitation of the information in its report and recommendation. Then, should there

be any objection to the report and recommendation, the objection may likewise

discuss the information. Any subsequent order resolving the objection will likely

further discuss the information. The Court’s – and the parties’ – discussion of the

information that the Respondent seeks to seal will be necessary to “promote public

understanding” of the Court’s ruling.

       The Respondent argues that it is concerned about potential harm to its

reputation from the public disclosure of the information. (See ECF No. 19 at 5; ECF

No. 32 at 6-7.) But that alone is an insufficient basis to seal the pleadings. See Wilson

v. Am. Motors Corp., 759 F.2d 1568, 1570–71 (11th Cir. 1985) (“we do agree that

                                            5
Case 8:22-cv-00406-TPB-CPT Document 46 Filed 07/28/22 Page 6 of 8 PageID 207



‘[s]imply showing that the information would harm the company’s reputation is not

sufficient to overcome the strong common law presumption in favor of public

access.’” (quoting Brown & Williamson Tobacco Corp. v. F.T.C., 710 F.2d 1165, 1179

(6th Cir. 1983)); United States v. Contents of Nationwide Life Ins Co. Acct. No. X0961 in

name of Warshak, 2006 WL 971978, at *4 (S.D. Ohio Apr. 12, 2006) (“The Court

does not doubt that the United States’ forfeiture actions and associated publicity have

threatened and will continue to threaten the profitability—and perhaps even

viability—of many of Warshak's businesses. But the law is clear: the prospect that

disclosure of unproven allegations will expose a party to reputational or (by

extension) commercial harm does not outweigh the common-law presumption of

public access to court records.” (citing In re Knoxville News-Sentinel Co., Inc., 723 F.2d

470, 477 (6th Cir. 1983); Brown & Williamson Tobacco Corp., 710 F.2d at 1179–1180;

Procter & Gamble v. Bankers Trust Co., 78 F.3d 219, 225 (6th Cir. 1996)).

         Finally, we note that the Respondent is the party intending to introduce the

information it seeks to have sealed in support of an objection to the summons. This

particular objection is based on certain records pre-dating August 2013. While we do

not wish to foreclose the Respondent presenting any arguably well-founded objection

that it may have to the summons, as it has a right to do, we do not believe that this

objection (which the Respondent is choosing to make) has merit. 2 The Court, at its



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    This is not to imply that the government believes the Respondent has any well-
                                                                               (continued...)
                                             6
Case 8:22-cv-00406-TPB-CPT Document 46 Filed 07/28/22 Page 7 of 8 PageID 208



status conference on June 23, 2022, cautioned the parties against objections or

arguments not made in good faith. We believe that the Respondent could readily

avoid the issue of sealing pleadings by not raising this meritless objection to the

summons and, therefore, a reasonable, less onerous alternative to the proposed

partial sealing exists.

       For these reasons, the Court should deny the Respondent’s motion for leave to

file portions of pleadings under seal.

       Dated: July 28, 2022              Respectfully submitted,

                                         ROGER B. HANDBERG
                                         United States Attorney
                                         DAVID A. HUBBERT
                                         Deputy Assistant Attorney General

                                          s/ Daniel A. Applegate
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founded objection to the summons, only that we believe this particular objection
related to the information forming the basis for this motion to seal lacks any merit
and should not be raised.
                                            7
Case 8:22-cv-00406-TPB-CPT Document 46 Filed 07/28/22 Page 8 of 8 PageID 209



                       CERTIFICATE OF SERVICE

      IT IS HEREBY CERTIFIED that service of the foregoing document has been
made through the Court’s CM/ECF system on July 28, 2022.



                                         s/ Daniel A. Applegate
                                         DANIEL A. APPLEGATE
                                         Trial Attorney, Tax Division




                                     8
